                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 UNITED STATES OF AMERICA                                     Case No. 3:20-CR-253-MOC-DCK

        v.
                                                              ORDER TO UNSEAL
 KAITLIN ELIZABETH LOWERY




       THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Unseal”

(Document No. 6) filed November 5, 2020.         For good cause shown upon motion of the United

States of America, by and through R. Andrew Murray, United States Attorney for the Western

District of North Carolina, it is hereby ORDERED that the Criminal Indictment and Arrest

Warrant be unsealed, in this matter.

       The necessity for keeping the above-captioned items sealed no longer exists.

       IT IS FURTHER ORDERED that the Clerk of the Court provide a copy of this Order to

the United States Attorney's Office.



                                   Signed: November 8, 2020




                                   SEALED DOCUMENT with access to Specified Parties/Plaintiff.




       Case 3:20-cr-00253-MOC-DCK Document 7 Filed 11/08/20 Page 1 of 1
